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 6
 7
 8
                                         UNITED STATES DISTRICT COURT
 9
                                      NORTHERN DISTRICT OF CALIFO RNIA
10
11   ARMADA BULK CARRIERS, LTD,         )                     Case No. C 05-3406 SC
     a Foreign Corporation,             )
12                                      )
                   Plaintiff,           )                     [PROPOSED] FINDINGS OF FACT
13                                      )                     AND CONCLUSIONS OF LAW
     v.                                 )
14                                      )                     LODGED BY DEFENDANT &
     CONOCOPHILLIPS COMPANY, INC., )                          COUNTERCLAIMANT
15   a Delaware Corporation, FOSS       )                     CONOCOPHILLIPS COMPANY
     MARITIME COMPANY, INC.,            )
16   a Washington Corporation; FOSS     )
     MARITIME BARGE 185 P3, in rem;     )
17   SPAR SHIPHOLDING, AS, a Foreign    )
     Corporation; M/V SPAR TW O, in rem )
18                                      )
                   Defendants.          )                     Final Pretrial Conf.: May 4, 2007
19                                      )
                                        )                     Trial:              May 7, 2007
20   AND ALL RELATED COUNTERCLAIMS )
                                        )
21
22               This matter came on regularly for trial on May 7, 2007, before the Honorable
23   Samuel Conti of the United States District Court for the Northern District of California
24   sitting without a jury. After consideration of all the evidence presented by the parties,
25   the argum ents of counsel, and the written briefing provided to the Court, the Court
26   hereby makes the following Findings of Fact and Conclusions of Law.
27   //
28   //


     [Proposed] Findings of Fact and Conclusions of Law
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 1                                                    FINDINGS OF FACT
 2               1.        This is an action arising out of the sale of bunker fuel to the charterer of
 3   a vessel engaged in maritime commerce and thus falls within the admiralty jurisdiction
 4   of this Court.
 5               2.        On or about May 13, 2005, plaintiff and counterdefendant Armada Bulk
 6   Carriers, Ltd. (“Armada”), a Swiss corporation, entered into a time charter of the M/V
 7   Spar Two, a 623-foot bulk carrier owned by Spar Shipholding AS (“Spar”). At the time,
 8   the M/V Spar Two was under a long-term time charter to Bulkhandling Handysize AS
 9   (“Bulkhandling”), which in turn subchartered the vessel to Armada.
10               3.        Pursuant to the charter party between Bulkhandling and Armada, Armada
11   was required to replenish bunker fuel consumed during its chartered voyage from
12   Southeast Asia to the United States W est Coast.
13               4.        Armada retained World Fuel Services, Inc., an experienced international
14   marine fuels broker, to procure a contract of sale for approximately 550 metric tons of
15   IFO 180 heavy oil from a supplier in the San Francisco Bay Area.
16               5.        ConocoPhillips Com pany (“ConocoPhillips”) is a major-brand producer
17   and marketer of petroleum products, which maintains a storage and distribution marine
18   terminal in Richm ond, California (“Richmond Term inal”).
19               6.        The ConocoPhillips Richmond Terminal has three aboveground storage
20   tanks and interconnected pipelines dedicated to its heavy oils, or “blacks oils,” business.
21   These shore tanks and pipelines are not connected to the remainder of the terminal.
22               7.        Back in mid-2004, ConocoPhillips assumed direct operation of the black
23   oils business at Richmond Terminal, including the sale of marine bunker fuels. At that
24   time, ConocoPhillips thoroughly cleaned each shore tank, stripping each to bare metal,
25   then inspected and repaired each of them. The ConocoPhillips Richmond Terminal
26   does not accept or handle ship slops or sludge, waste oils, or other off-specification,
27   contaminated fuel oil.
28


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 1               8.        On or about June 14, 2005, W orld Fuel Services, Inc., acting on Arm ada’s
 2   behalf, inquired whether ConocoPhillips could deliver 550 metric tons of IFO 180 grade
 3   fuel oil to Armada’s chartered vessel, the M/V Spar Two.
 4               9.        ConocoPhillips replied by email message to Armada’s broker setting forth
 5   verbatim the specifications of IFO 380 grade heavy oil it had available for sale in its
 6   Richmond Terminal shore tank 3927, asking if the specifications were acceptable.
 7               10.        Armada’s broker responded by suggesting that marine diesel oil, or
 8   “cutter,” be added to lower the viscosity of the fuel oil to 180 centistokes at 50°C.
 9   Arm ada’s broker did not object to any other product specification, and did not request
10   that any further laboratory analyses be provided or conducted.
11               11.       ConocoPhillips replied that it could not guarantee uniform blending of the
12   cutter into the heavy oil because Richmond Terminal did not have in-line (or shoreside)
13   blending capability. ConocoPhillips stated that the blend would be approximately 3400
14   barrels of heavy oil (about 95%) with 150 barrels of “cutter” (about 5% ).
15               12.       Arm ada’s broker confirmed that this approach was acceptable, and that
16   he would advise Armada of the blending details. It was therefore understood by the
17   parties, in advance, that the product mixing would occur by means of gravity blending
18   once the two different grades of petroleum product were loaded aboard defendant Foss
19   Maritime’s (“Foss”) delivery barge, the Barge 185 P3.
20               13.       On June 14, 2005, Armada and ConocoPhillips entered into a three-page
21   Spot Sale Agreem ent for the sale of about 550 metric tons of IFO 180 bunker fuel oil
22   to be delivered by barge on June 19 or 20, 2005, to the M/V Spar Two in San Francisco
23   Bay, California.            The Spot Sale Agreement required the fuel oil meet RME 25
24   specifications with the exception of vanadium, which was to be “typically 265 ppm.”
25               14.       The Spot Sale Agreement expressly incorporated by reference
26   ConocoPhillips’s April 1, 2004 “Products Purchase/Sale Agreements General Terms
27   and Conditions” which, in turn, incorporated its “Marine Fuels Purchase/Sale
28   Addendum .” The Spot Sale Agreement also superseded and rejected any inconsistent


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 1   or additional terms set forth in other order confirmations. Both parties have affirmatively
 2   alleged, and both have admitted in their responsive pleadings, that these three written
 3   contract documents, and no others, comprise the contract of sale between Armada and
 4   ConocoPhillips.
 5               15.       The ConocoPhillips “General Terms and Conditions” provide, in pertinent
 6   part, as follows:
 7                                  2.2 FOB Delivery:
 8                                  Delivery shall be deemed com plete and title
                                    and risk of loss shall pass from Seller to
 9                                  Buyer... in the case of vessel deliveries as
                                    Product passes the vessel’s permanent
10                                  flange at the load port.
11   Armada has affirmatively alleged: “Pursuant to the terms of the contract, the title and
12   risk to the fuel oil passed from ConocoPhillips to Armada at the permanent flange of the
13   barge that was used to transport and deliver the fuel oil, Foss 185 P3.”
14               16.       The ConocoPhillips “Marine Fuels Purchase/Sale Addendum ” provides,
15   in pertinent part, as follows:
16                                  ConocoPhillips’ Products Purchase/Sale
                                    General Terms and Conditions (“Seller’s
17                                  General Terms and Conditions”) are
                                    incorporated by this reference. In the event
18                                  of a conflict between Seller’s General Terms
                                    and Conditions and the following terms and
19                                  conditions, the terms of the latter shall
                                    prevail.
20
                                                              ***
21
                                    3. GRADES.
22
                                    A.        ...SELLER’S FUEL GRADES W ILL
23                                            CONFORM        TO  ISO   8217
                                              SPECIFICATIONS. OTHER MINIMUM
24                                            AND     MAXIMUM      QUALITY
                                              SPECIFICATIONS SHALL BE AS SET
25                                            FORTH       IN   THE   SALE S
                                              CONFIRMATION.
26
                                                              ***
27
28


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 1                             6. SAMPLING AND QUALITY.
 2                                  A.        UNLESS A MUTUALLY ACCEPTABLE
                                              I N DE P E N D E N T I NS PEC T O R IS
 3                                            APPOINTED TO TAKE SAM PLES
                                              (WHOSE FEES SHALL BE BORNE
 4                                            EQUALLY BY SELLER AND BUYER),
                                              SELLER SHALL TAKE NOT LESS THAN
 5                                            TW O (2) IDENTICAL SAMPLES IN
                                              ACCORDANCE WITH ITS NORMAL
 6                                            PROCEDURES AT THE DELIVERY
                                              PORT. (emphasis supplied)
 7
                                                                 ***
 8
                                              BUYER HAS A RIGHT TO HAVE A
 9                                            REPRESENTATIVE W ITNESS SUCH
                                              SAMPLING.
10
                                    B.        BUYER WAIVES ANY OBJECTIONS TO
11                                            T H E S A M P L IN G P R O C E D U R E S
                                              ACTUALLY EMPLOYED UNLESS
12                                            BUYER HAD A REPRESENTATIVE
                                              WITNESS SAMPLING AND AT THE
13                                            TIME OF DELIVERY GAVE SELLER A
                                              WRITTEN PROTEST ABOUT THE
14                                            PROCEDURES. (emphasis supplied)
15                                            THE SAMPLES SHALL BE SEALED AND
                                              LABELED BY EITHER THE BARGE
16                                            COMPANY REPRESENTATIVE,
                                              SE LLER ’S REPRESENTATIVE OR
17                                            INDEPENDENT INSPECTOR, AS THE
                                              CASE MAY BE. THE CHIEF ENGINEER
18                                            W ILL ACKNO W LEDGE RECEIPT OF
                                              THE SAMPLE DELIVERED TO THE
19                                            VESSEL BY SIGNING AND DATING
                                              EITHER A RECEIPT OR THE SAMPLE
20                                            LABEL.
21                                  C.        ONE SAMPLE W ILL BE GIVEN TO THE
                                              VESSEL AT THE TIME OF DELIVERY.
22                                            NOT LESS THAN ONE (1) SAMPLE
                                              SHALL BE RETAINED BY SELLER FOR
23                                            AT LEAST 60 DAYS, OR LONGER IF
                                              BUYER HAS MADE A QUALITY CLAIM
24                                            AGAINST SELLER DURING THAT
                                              PERIOD.
25
                               7. CLAIMS.
26
                                                                 ***
27
                                    B.        ANY CLAIM BY BUYER FOR QUALITY
28                                            DEFICIENCY OR NONCONFORMITY
                                              MUST BE RECEIVED BY SELLER IN

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 1                                            W RITING AND ACCOMPANIED BY ALL
                                              T H E N A V A IL A B L E S U P P OR TIN G
 2                                            DOCUMENTS W ITHIN THIRTY (30)
                                              DAYS OF DELIVERY. IT IS A PRE-
 3                                            C O N D IT IO N      OF    SELLER’S
                                              CONSIDERATION OF A QUALITY
 4                                            CLAIM THAT AT THE TIME BUYER
                                              GIVES SELLER NOTICE, THAT BUYER
 5                                            HAS RETAINED ITS SEALED RETAIN
                                              SAMPLE PROVIDED BY SELLER.
 6                                            BUYER’S NOTICE MUST CONTAIN
                                              FULL DETAILS INCLUDING:              THE
 7                                            QUANTITIES AND LOCATIONS OF ALL
                                              BUNKERS ON BOARD THE VESSEL;
 8                                            THE RATE AND QU ANTITY O F
                                              C O N S U MP T IO N O F B U N K E R S
 9                                            CONSUMED;         FOR EACH OF THE
                                              THREE (3) PRECEDING DELIVERIES
10                                            TO THE VESSEL, THE QUANTITY,
                                              QUALITY AND SPECIFICATION OF
11                                            PRODUCT SUPPLIED, THE PLACE AND
                                              DATE OF SUPPLY AND THE NAME OF
12                                            T H E S U P P L IE R ;      AND      THE
                                              INFORMATION CONCERNING THE
13                                            W HEREABOUT OF BUYER’S SEALED
                                              RETAIN SAMPLE.
14
                                                                  ***
15
                                    D.        IN THE EVENT OF A QUALITY CLAIM,
16                                            THE PARTIES AGREE TO HAVE THE
                                              SAMPLE RETAINED BY SELLER
17                                            ANALYZED BY A MUTUALLY AGREED,
                                              Q U A L I FI E D A N D IN D E P E N D E N T
18                                            LABORATORY. THE COSTS OF THE
                                              ANALYSIS SHALL BE BORNE EQUALLY
19                                            BY SELLER AND BUYER. BUYER MAY
                                              CAUSE THE TESTING OF THE SAMPLE
20                                            PROVIDED TO THE VESSEL AT ITS
                                              SOLE COST AND EXPENSE;
21                                            HOWEVER,              DISPOSITIVE
                                              DETERMINATION OF QUALITY OF
22                                            PRODUCT DELIVERED SHALL BE
                                              BASED UPON TEST RESULTS OF AN
23                                            INDEPENDENT LABORATORY IN THE
                                              PORT OF BUNKERING OF THE
24                                            SEALED AND MARKED SAMPLES
                                              RETAINED BY SELLER FROM THE
25                                            DELIVERY. (emphasis supplied)
26                                                                ***
27
28


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 1
                               14. GOVERNING LAW.
 2
                                    Regardless of where the full is delivered to the
 3                                  vessel, federal maritime law of the United States
                                    of America shall be paramount in governing the
 4                                  rights and duties of the parties hereto.
 5               17.       The parties agree there is no distinction between “RME 25” and “ISO
 6   8217” specifications, which the Court therefore views to be synonymous.
 7               18.       Armada was the party responsible for notifying ConocoPhillips of when
 8   the M/V Spar Two would be in port and prepared to accept delivery of the bunkers, and
 9   therefore Armada was well aware of the timing of the barge delivery and, in turn, of any
10   additional fuel oil inspection activities that might be undertaken.
11               19.       There is no evidence that Armada ever requested further fuel oil samples
12   be taken by ConocoPhillips or by an independent inspection firm; ever requested
13   permission to witness further fuel oil sampling or obtain its own samples; ever attended
14   the fuel oil sampling activities; or ever objected in writing or otherwise to selection of
15   Columbia Inspection as the independent inspection firm or to its sampling methods.
16               20.       There is also no evidence that Armada or anyone else ever advised
17   ConocoPhillips in advance that the M/V Spar Two’s officers and crew members were
18   intending to take a manifold “drip sample” of the fuel oil as it came aboard the M/V Spar
19   Two; that ConocoPhillips was invited or required to observe that sampling and the
20   preparation of sealed sample containers; or that such samples would have any
21   relevance in a dispute over the quality of fuel oil sold to Armada.
22               21.       On June 16, 2005, Armada’s Port Captain had gone aboard the M/V Spar
23   Two in Stockton, California, to survey the locations and quantities of bunkers aboard
24   the vessel. Armada did not obtain any samples for analysis. The Master of the M/V
25   Spar Two advised Armada’s Port Captain that one of the four (4) fuel oil bunker tanks
26   contained approximately 191 metric tons of reportedly off-specification fuel oil. This fuel
27   oil had been acquired in Honghai, Vietnam, in late March 2005.
28


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 1               22.       Neither Armada nor the M/V Spar Two ever advised ConocoPhillips, in
 2   advance, that the M/V Spar Two was already carrying approximately 191 metric tons
 3   of reportedly off-specification fuel oil. ConocoPhillips also was not informed that there
 4   had been a material difference between that previous supplier’s certificate of analysis
 5   (showing the fuel oil to have met all specifications) and the M/V Spar Two’s “manifold
 6   drip sample.” ConocoPhillips also was not advised that there was approximately 23
 7   metric tons of fuel oil of unknown quality in the bunker fuel oil tank into which the
 8   ConocoPhillips fuel oil reportedly was delivered.
 9               23.       On the date scheduled for delivery, June 20, 2005, ConocoPhillips
10   followed its normal procedures at the Richmond Terminal by retaining Columbia
11   Inspection, an independent fuel oil inspection firm, to gauge its shore tanks and the
12   Foss Barge 185 P3’s compartments as well as to obtain fuel oil samples in the event
13   further analyses were required.                      ConocoPhillips had previously used independent
14   inspection firms to certify the quality of the heavy oil delivered into shore tank 3927 on
15   or about May 31, 2005, as well as the quality of the shore tank contents on June 6,
16   2005, following blending with a Rodeo refinery product, “HSCAT,” on or about June 3,
17   2005.
18               24.       On June 20, 2005, Columbia Inspection’s sampler, Mr. Hussain Nassir,
19   followed his normal procedures in obtaining samples from shore tanks 3927 and 3944.
20   Tank 3944 contained the lower-viscosity “cutter” stock.                       These samples were
21   maintained in the continuous custody of Columbia Inspection and were later analyzed
22   as a 95%-5% composite blend when the M/V Spar Two and Armada raised concerns
23   about the quality of the fuel oil.
24               25.       The heavier grade fuel oil from shore tank 3927 was loaded onto the Foss
25   Barge 185 P3 first and distributed equally across four (4) barge compartments. The
26   lighter cutter stock was then loaded into each compartment. The fuel oil was loaded
27   from the bottom of the barge compartments and, therefore, the lighter cutter stock
28   blended upward into the heavier oil as it was being loaded.


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 1               26.       Again following his normal procedures, Columbia Inspection’s Mr. Nassir
 2   next took samples from each of the four (4) barge compartm ents. As Mr. Nassir
 3   explained, given his prior familiarity with the fuel oil product he was sampling, and the
 4   comparatively shallow depth of product in each barge compartm ent, viz. about seven
 5   (7) feet, he did not deem it necessary to take samples at multiple levels. His samples
 6   tended to draw product from the lower portions of the four compartments, where excess
 7   water, sediment, ash, and metals, would tend to accumulate if they were present.
 8               27.       Columbia Inspection maintained continuous custody of these four (4)
 9   barge compartment samples, which were later combined in equal volumes to form a
10   barge composite sample for laboratory analysis.
11               28.       Mr. Nassir also prepared two additional barge compartment sam ples in
12   the field while aboard the Foss Barge 185 P3. He could not recall whether he combined
13   fuel oil from one, two, or several compartments within each sample container. These
14   two samples were then sealed and labeled and given to the Foss tankerman with
15   instructions that one sample be given to the officers or crew of the M/V Spar Two. That
16   delivery was in fact made.
17               29.       On or about June 27, 2005, Armada relayed to ConocoPhillips information
18   Armada had received from the M/V Spar Two’s managers concerning the vessel’s
19   “manifold drip sample,” which had reportedly been analyzed by a laboratory in Houston,
20   Texas. According to Armada, the ConocoPhillips fuel oil failed to meet ISO 8217
21   specifications for water, ash, aluminum, and silicon. Armada refused to pay the agreed
22   purchase price of $189,906.73, in whole or in part.
23               30.       On June 29, 2005, ConocoPhillips instructed Columbia Inspection to have
24   its laboratory analyze both a shore tank composite sample and a barge compartment
25   com posite sample using product drawn on June 20, 2005, by running tests on the
26   contaminants of concern to Armada.
27               31.       Columbia Inspection analyzed and reported that the 95%-5% shore tank
28   com posite sample tested 0.30 percent by volume for water, 13 ppm for silicon, and 13


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 1   ppm for alum inum . Contract and ISO 8217 specifications allow up to 1.0 percent for
 2   water and 80 ppm for silicon and aluminum combined.
 3               32.       Columbia Inspection also analyzed and reported that the barge composite
 4   sample tested 0.30 percent by volume for water, 5 ppm for aluminum, and 12 ppm for
 5   silicon. ConocoPhillips reported these results to Armada and reminded Armada that the
 6   ConocoPhillips’s samples drawn by the independent inspection firm were binding on
 7   Armada by contract.
 8               33.       The M/V Spar Two’s Chief Engineer had apparently represented that the
 9   ConocoPhillips fuel oil had all been loaded into fuel oil bunker tank “1C”. On June 29,
10   2005, Armada and Bulkhandling jointly obtained samples from that bunker tank.
11   ConocoPhillips was not present or represented at this sampling event, and at no time
12   did ConocoPhillips agree that these sam ples would have any relevance in the parties’
13   fuel quality dispute. The samples were analyzed by BSI Inspectorate, which reported
14   contaminant levels for water, ash, silicon, and aluminum which were appreciably less
15   than the levels found in the vessel’s “manifold drip sample,” purportedly of the same fuel
16   oil, taken only seven (7) days earlier.
17               34.       On July 6, 2005, ConocoPhillips agreed to have Armada’s laboratory of
18   choice, BSI Inspectorate, analyze the sealed barge sample given to Foss on June 20,
19   2005. All ISO 8217 specifications were analyzed and all were met. The results for
20   water (0.40%), ash (0.052% ), aluminum (7 ppm), and silicon (18 ppm) were very similar
21   to Columbia Inspection’s analysis of its barge composite sample on June 29, 2005.
22               35.       Armada did not call any witnesses at trial having personal knowledge of
23   the sampling equipment (if any) utilized to obtain the vessel’s “drip sample,” the events
24   and circumstances surrounding the taking of that sam ple, the collection of the fuel oil
25   into an initial container and then into secondary sealed sample containers, or the chain
26   of custody in connection therewith. Therefore, independent laboratory analyses of this
27   “drip sample” have not been admitted into evidence.
28


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 1               36.       Armada also did not call any witnesses at trial having personal knowledge
 2   of the delivery and storage of the ConocoPhillips fuel oil aboard the M/V Spar Two, any
 3   transfers between bunker fuel oil tanks, and the quantity of fuel oil in bunker fuel oil tank
 4   “1C” at the time samples were drawn. Therefore, the laboratory analysis of the bunker
 5   tank sam ple drawn on June 29, 2005, has not been admitted into evidence on the issue
 6   of whether ConocoPhillips tendered conforming goods for delivery on June 20-21, 2005.
 7               37.       The fuel oil delivered to the M/V Spar Two was never returned to
 8   ConocoPhillips. Armada and the charterers (Bulkhandling), the vessel owners, and the
 9   managers of the M/V Spar Two — but not ConocoPhillips — exercised all subsequent
10   and exclusive control over the fuel oil. On September 18, 2005, the ConocoPhillips fuel
11   oil, as well as the Vietnam bunkers, were finally debunkered in Piraeus, Greece.
12   Reportedly, neither the vessel’s owners, Bulkhandling, nor Armada received any
13   consideration for the fuel oil. Samples taken of the fuel oil at that time, however,
14   reflected that the fuel oil met all ISO 8217 specifications except for water, which had
15   decreased from 4.8% (according to Armada’s “drip sample”) to about 2.1%.
16               38.       Armada did not call any witnesses at trial having personal knowledge of
17   the purportedly segregated storage and restricted transfer of the ConocoPhillips fuel oil
18   aboard the M/V Spar Two between June 21, 2005, and September 18, 2005. The Court
19   is therefore unable to make any findings as to whether the ConocoPhillips fuel oil was,
20   or was not, commingled with other fuel oil or with the vessel’s slops, or whether any of
21   it was consumed by the M/V Spar Two.
22               39.       To the extent the vessel’s Oil Record Book entries are offered by
23   ConocoPhillips as admissions of an entity in privity with a party-opponent, however,
24   Armada has failed to explain the loss of approximately 65 metric tons of fuel oil in tank
25   “1C” between the time the ConocoPhillips fuel oil was loaded and then later
26   debunkered.
27               40.       On or about July 8, 2005, Armada first provided written notice of its fuel
28   quality claim pursuant to the ConocoPhillips “Marine Fuels Purchase/Sale Addendum.”


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 1   Armada provided documentation of only two, not the required three, immediately-
 2   preceding fuel oil deliveries onto the vessel. Arm ada has failed to explain material
 3   inconsistencies in docum entation and vessel log entries surrounding the March 25,
 4   2005 (or April 1, 2005), delivery of bunkers in Honghai, Vietnam. Armada has never
 5   explained the origin or quality of the 23 metric tons of fuel oil already in tank “1C” when
 6   the ConocoPhillips fuel oil was reportedly delivered into that bunker tank.
 7               41.       Armada has also failed to safekeep and produce the sealed barge sample
 8   delivered to the M/V Spar Two by Foss on June 20-21, 2005. That sample was
 9   reportedly discarded by Bulkhandling’s surveyor before any analysis was conducted,
10   despite apparent instructions by Bulkhandling’s counsel that it not be discarded.
11               42.       Armada offered no competent evidence at trial as to the reasonable
12   market value of the fuel oil at the time and in the place it was delivered on June 20-21,
13   2005.
14               43.       The ConocoPhillips Marine Fuels Purchase/Sale Addendum provides in
15   pertinent part as follows:
16                             1. IDENTITY OF BUYER.
17                                  THIS SALE OF MARINE FUELS IS MADE
                                    TO THE NAMED VESSEL AND TO THE
18                                  COMPANY OR PERSON DESCRIBED AS
                                    THE “BUYER”           IN   THE    SALES
19                                  C O N F I R MA T IO N W H O W A R R A N TS
                                    HAVING FULL AUTHORITY TO ACT ON
20                                  BEHALF OF THE NAMED VESSEL.
21               44.       The ConocoPhillips Marine Fuels Purchase/Sale Addendum also
22   specifically provides in pertinent part as follows:
23                             8. LIMITATION OF LIABILITY.
24                                                        ***
25                                  B. CLAIMS RELATED TO FUEL QUALITY:
                                    SELLER’S LIABILITY FOR DELIVERY OF
26                                  FUEL    WITH     NON-CONFO RM ING
                                    SPECIFICATIONS SHALL BE LIMITED TO THE
27                                  COSTS INCURRED TO REMOVE THE FUEL
                                    FROM THE VESSEL AND TO REPLACE IT TO
28                                  THE EXTENT SUCH FUEL W AS DELIVERED
                                    UNDER THIS AGREEMENT.

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 1                                  C. SELLER SHALL NOT BE LIABLE FOR ANY
                                    LOSS OF PROFIT OR ANTICIPATED PROFIT,
 2                                  LOSS OF TIME OR HIRE, OVERHEAD
                                    EXPENSES, DEMURRAGE OR LOSS OF
 3                                  S C H E D U LE , C O S T O F S U B S T IT U T E
                                    VESSEL(S), LOSS RELATED TO LOSS OF
 4                                  OPERATIONAL USE OF VESSEL, PHYSICAL
                                    LOSS OR DAMAGE (IN WHOLE OR IN PART)
 5                                  OF OR TO VESSEL OR CARGO, OR FOR ANY
                                    LOSS         OF    CONTRACT(S)             OF
 6                                  AFFREIGHTMENT TO THE EXTENT THAT
                                    THE FOREGOING OF ANY OF THEM ARE
 7                                  CONSEQUENTIAL, INDIRECT OR SPECIAL
                                    LOSSES OR SPECIAL DAMAGES NOR
 8                                  W ITHOUT PREJUDICE TO THE FOREGOING
                                    F O R ANY OTHER CONSEQUENTIAL,
 9                                  INDIRECT SPECIAL LOSSES OR SPECIAL
                                    DAMAGES, ARISING OUT OF OR IN ANY
10                                  W AY CONNECTED TO THIS AGREEMENT.
11               45.       The ConocoPhillips General Terms and Conditions also provide in
12   pertinent part as follows:
13                             4. PAYMENT.
14                                                        ***
15                                  4.3 Interest: Any amount payable for any cargo
                                    of Product or otherwise payable by Buyer to
16                                  Seller hereunder shall, if not paid when due,
                                    bear interest from the due date until the date
17                                  payment is received by Seller at an annual rate
                                    (based on a 360-day year) equal to the rate of
18                                  two (2) percentage points above the prime rate
                                    of interest effective for the payment due date as
19                                  published in the Wall Street Journal, but not
                                    more than the maximum rate of interest
20                                  permitted under applicable law. Buyer shall pay
                                    such interest within five (5) days following receipt
21                                  of Seller’s invoice for such interest.
22                                                        ***
23                             10. DEFAULT.
24                                                        ***
25                                  10.3 The Performing Party’s rights under this
                                    Section shall be in addition to, and not in
26                                  limitation or exclusion of, any other rights which
                                    the performing Party may have (whether by
27                                  agreement, operation of law or otherwise)
                                    including, but not limited to the sale to a third
28                                  party of the Product which is the subject of the
                                    Agreem ent. The Non-Perform ing Party shall

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 1                                  indemnify and hold the Performing Party
                                    harmless from all costs and expenses (including
 2                                  reasonable attorney fees) incurred in the
                                    exercise of any rem edies hereunder.
 3
                                                          ***
 4
                               14. INDEMNITY.
 5
                                    14.1 Seller and Buyer mutually covenant to
 6                                  protect, defend, indem nify and hold each other
                                    harmless from and against any and all claims,
 7                                  demands, suits, losses, expenses (including
                                    without limitation, costs of defense, attorney’s
 8                                  fees and interest), damages, fines, penalties,
                                    causes of action and liabilities of every type and
 9                                  character, including but not limited to personal
                                    injury or death to any person including
10                                  employees of either Party or loss or damage to
                                    any personal or real property, caused by, arising
11                                  out of or resulting from the acts or omissions of
                                    negligence or willful acts of such indemnifying
12                                  Party, its officers, employees or agents with
                                    respect to the purchase and sale of Product
13                                  hereunder. In the event the Parties are jointly
                                    and/or concurrently negligent, each Party shall
14                                  indemnify the other Party to the extent of its
                                    negligent acts or omissions or willful acts.
15
                               15. LIMITATION OF LIABILITY.
16
                                    15.1 Except as provided in Section 16 herein
17                                  and as otherwise provided in the Agreem ent,
                                    neither party shall be liable for any prospective
18                                  profits or special, indirect, incidental,
                                    consequential, punitive or exemplary damages.
19
                                                          * * *
20
                               21. ENTIRE AGREEMENT.
21
                                    21.1 No statement or agreement, oral or
22                                  written, made prior to or at the signing of this
                                    Agreement, shall vary or modify the written
23                                  terms hereof, and neither party shall claim any
                                    amendment to, modification of, or release from
24                                  any provisions by mutual agreement unless such
                                    agreement is in writing, signed by the other Party
25                                  and specifically states that it is an amendment
                                    to, modification of, or release from this
26                                  Agreem ent.
27                                                        ***
28


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 1                             24. ATTACHMENTS/ADDENDA.
 2                                  24.1 Attached hereto and incorporated by
                                    reference herein are certain addenda providing
 3                                  further terms and conditions as applicable.
 4                                       (a) Marine Fuel Purchase/Sale Addendum
 5                                                            ***
 6               46.       On August 22, 2005, Armada filed suit alleging three claims for relief:
 7   Breach of contract, breach of warranty, and negligence, each predicated upon
 8   ConocoPhillips’s alleged failure to deliver fuel oil meeting ISO 8217 specifications for
 9   water, ash, aluminum, and silicon. Armada has not alleged any injury to any person or
10   to property, and seeks damages solely for the product’s alleged failure to meet contract
11   expectations, cost of its removal, and the related economic loss associated with carrying
12   the fuel oil aboard the vessel. Arm ada has not properly alleged a claim for indemnity.
13   ConocoPhillips has asserted counterclaims for the price of goods sold and delivered,
14   breach of contract, and for recovery in quantum valebant.
15                                                        CONCLUSIONS OF LAW
16               1.        This is an action arising out of the sale of bunker fuel to the charterer of
17   a vessel engaged in maritime commerce and thus falls within the Court’s admiralty
18   jurisdiction. Exxon Corporation v. Central Gulf Lines, Inc., 500 U.S. 603, 111 S.Ct.
19   2071, 114 L.Ed.2d 649 (1991).
20               2.        ConocoPhillips has separately invoked the diversity jurisdiction of this
21   Court under the “Savings to Suitors” clause of the United States Constitution inasmuch
22   as Armada is a citizen of a foreign state and ConocoPhillips is a citizen of the states of
23   Delaware and Texas. The am ount in controversy exceeds $75,000, and actions to
24   enforce contracts of sale were cognizable in the courts of common law as well as in
25   admiralty. See 28 U.S.C. § 1332; Ghotra by Ghotra v. Bandila Shipping, Inc., 113 F.3d
26   1050 (9 th Cir. 1997). All parties have waived trial by jury for purposes of this proceeding,
27   however.
28


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 1               3.        The dispute raised by the pleadings and tried to the Court is governed by
 2   American general maritime law, which in turn adopts the common law of contracts and
 3   the provisions of the Uniform Comm ercial Code governing the sale of goods. See, e.g.,
 4   Hozie v. The Vessel Highland Light, 182 F.3d 925 (9 th Cir. 1999); Interpool Limited v.
 5   Char Yigh Marine (Panama) S.A., 918 F.2d 1476 (9 th Cir. 1990).
 6               4.        Parties to commercial contracts of sale are generally free to agree in
 7   advance to the rules governing the resolution of disputes arising under those contracts.
 8   Courts sitting in admiralty are required to give such provisions their full effect. See, e.g.,
 9   Foster Wheeler Energy C orp. v. An Ning Jiang M /V, 383 F.3d 349, 354-55 (5 th Cir.
10   2004).
11               5.        The contract of sale between Armada and ConocoPhillips establishes a
12   conclusive presumption that Armada, as the buyer, shall be bound by the laboratory
13   analysis of fuel oil samples taken at the port of delivery in accordance with
14   ConocoPhillips’s normal procedures unless the buyer attends the sampling activities
15   and timely objects in writing to the sampling methods employed.
16               6.        ConocoPhillips has established by a preponderance of the evidence that
17   both ConocoPhillips and the independent petroleum inspection firm, Columbia
18   Inspection, Inc., followed their normal procedures in obtaining and testing shore tank
19   and barge com partment samples in connection with the sale and delivery of fuel oil
20   bunkers to Arm ada on June 20-21, 2005. W hen analyzed by independent laboratories,
21   each of the samples indicated that the fuel oil met all ISO 8217 specifications, including
22   those particular specifications Armada alleges were not met. Armada is thus bound by
23   these laboratory analyses.
24               7.        Pursuant to the terms of the parties’ contract of sale, Armada has waived
25   the right to challenge ConocoPhillips’s selection of the particular fuel inspection firm,
26   Columbia Inspection, or the sampling methods employed by that firm’s inspector.
27   Armada did not attend the sampling activities and did not make timely written objection.
28   Although Armada was aware of the load terminal and the estimated date of delivery,


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 1   Armada made no inquiries or requests for permission to attend the sam pling.
 2   Therefore, Armada had no express or implied contractual right to receive further notice
 3   of sampling activities by ConocoPhillips.
 4               8.        The Court nevertheless does find that Armada suffered no prejudice in
 5   failing to attend and witness the sampling activities because, under all of the facts and
 6   circumstances presented, Columbia Inspection followed normal, commercially
 7   reasonable, and industry-accepted practices in obtaining, maintaining, and testing fuel
 8   oil samples taken in connection with this sale.
 9               9.        The written contract of sale also reasonably requires, as a condition to
10   buyer’s making of a fuel quality claim, that the buyer provide complete and accurate
11   documentation as to the source, quality, storage, consumption, and shipboard transfer
12   of the three immediately-preceding fuel oil bunker deliveries. Arm ada has failed to
13   satisfy this condition to its making a fuel quality claim.
14               10.       Given the various conflicting and incomplete vessel log entries and
15   bunker delivery documentation, the Court finds that Armada’s material breach of this
16   contract obligation caused direct and substantial prejudice to ConocoPhillips. Whether
17   viewed as a failure of a condition or a material breach of covenant, Arm ada’s failure to
18   adequately document its claim provides a separate and additional basis for denying
19   Arm ada’s claim based upon ConocoPhillips’s alleged failure to deliver fuel oil meeting
20   contract specifications.
21               11.       Armada has also inexcusably failed to ensure the safe-keeping of the
22   sealed barge sample provided to the M/V Spar Two’s Chief Engineer on June 20-21,
23   2005, which was later removed from the vessel and discarded. Armada was unable to
24   produce this sample for testing when its production was requested by ConocoPhillips
25   in discovery. Armada’s failure to satisfy this condition to making its fuel quality claim
26   also bars that claim in this Court.
27               12.       Even if Armada’s claims and defenses were not defeated by the
28   conclusive presumption of quality established by the contract of sale, as well as by


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 1   Arm ada’s failure to satisfy conditions to its presenting a fuel quality claim, Armada also
 2   has failed to meet its burden of proof in showing that the ConocoPhillips fuel oil failed
 3   to conform to product specifications at the time it was tendered for delivery.
 4               13.       Arm ada’s and ConocoPhillips’s claims and defenses are governed by
 5   Article II of the Uniform Comm ercial Code, adopted as part of general American
 6   maritime law. See, e.g., Hozie, supra; Interpool Limited, supra. Sections 2-607(1) and
 7   (4) provide as follows: (1) The buyer must pay at the contract rate for any goods
 8   accepted; (4) The burden is on the buyer to establish any breach with respect to the
 9   goods accepted.
10               14.       Here, Armada accepted allegedly nonconforming goods and never
11   effectively revoked that acceptance. Armada is therefore liable for the agreed purchase
12   price, subject to a setoff measured by the difference in value between the goods as
13   warranted and the value of the goods tendered for delivery. UCC §§ 2-709(1)(a) and
14   2-714(2).
15               15.       Armada has failed to offer admissible, non-speculative evidence sufficient
16   to meet its burden of showing that the ConocoPhillips fuel oil failed to conform to
17   contract specifications at the time and place it was tendered for delivery, viz. at the
18   flange of the Foss Barge 185 P3.                     As a result, all of Armada’s   claims fail and
19   ConocoPhillips is entitled to recover the full agreed contract price of $189,906.73. Cf.
20   Chicago Prime Packers v. Northern Food Trading Co., 408 F.3d 894 (7 th Cir. 2005)
21   (buyer failed to establish quality of goods at the point tendered for transfer).
22               16.       Armada has neither alleged nor offered any evidence of injury to persons
23   or to other property caused by the ConocoPhillips fuel oil. Its claim, at best, relates
24   solely to the product’s failure to m eet contract expectations resulting in damages for
25   disposal costs and lost economic opportunity associated with replacing, transporting,
26   and removing the fuel oil. As a result, Armada’s claim in tort for negligence is barred
27   by the “economic loss rule.” East River Steamship Corp. v. Transamerica Delaval, Inc.,
28   476 U.S. 858, 106 S.Ct. 2295, 90 L.Ed.2d 865 (1986).


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 1               17.       Pursuant to the written contract of sale, ConocoPhillips is entitled to
 2   recover prejudgm ent interest at the contract rate of prime-plus-2%, and may bring a
 3   post-judgment application calculating that figure for the Court.           See, e.g., Atmel
 4   Corporation v. Silicon Storage Technology, Inc., 202 F.Supp.2d 1096 (N.D.Cal. 2002).
 5               18.       Pursuant to the written contract of sale, ConocoPhillips is entitled to
 6   recover its attorney’s fees and other claim resolution and litigation expenses, and may
 7   file a Fed.R.Civ.P. 54(d)(2) post-judgment motion submitting that matter for decision by
 8   the Court.
 9                                   [ALTERNATIVE CONCLUSIONS OF LAW]
10               19.       Armada has failed to offer evidence through witnesses having personal
11   knowledge sufficient to establish that the M/V Spar Two’s “manifold drip sam ple” is
12   admissible, relevant, or ever conform ed to the requirements of MARPOL Annex VI,
13   Regulation 18. This is not a MARPOL enforcement action, and the “MARPO L sample”
14   is not relevant under the contract of sale between the parties in resolving their fuel
15   quality dispute. The M/V Spar Two also was not equipped with a proper “manual valve-
16   setting continuous-drip sampler,” there was no proper “primary sample receiving
17   container,” the sam ple was not drawn at the proper location, and the tamper-proof
18   security seal was not attached in the presence of a supplier’s representative.
19               20.       Armada has failed to meet its burden of establishing the reasonable
20   market value of the fuel oil as delivered — at the time and place of delivery — and
21   therefore has not proven each of the essential elements of its claim for breach of
22   warranty of description as a setoff to ConocoPhillips’s counterclaim for the price of the
23   goods sold and delivered.
24               21.       The Court also finds that Armada failed to seasonably and reasonably
25   mitigate its damages by its failure to promptly debunker the reportedly off-specification
26   fuel oil to a buyer willing to pay fair value.
27               22.       Armada has not properly pled, let alone proven, a claim for indemnity
28   based upon economic losses suffered by its charterer, Bulkhandling, or by Spar


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 1   Shipholding. Arm ada does not have standing to seek these categories of damages, and
 2   there is no evidence of any negligence on the part of ConocoPhillips.
 3               23.       Furthermore, all categories of damages denominated as demurrage, off-
 4   hire time, deadfreight, and lost time while diverting course to debunker are expressly
 5   excluded by ConocoPhillips’s limitation of liability and exculpatory provisions, which are
 6   fully enforceable against Armada in this action.
 7               Accordingly, it is hereby ORDERED, ADJUDGED, and DECREED that
 8   Arm ada’s three claims for relief are DENIED with prejudice, and that judgment is to be
 9   entered in favor of ConocoPhillips on those claims.
10               It is furthermore ORDERED, ADJUDGED, and DECREED that ConocoPhillips’s
11   claims for the price of goods sold and delivered and for breach of contract are
12   GRANTED, and that judgment is to be entered in favor of ConocoPhillips and against
13   Armada for the sum of $189,906.73. ConocoPhillips’s third claim for relief for quantum
14   valebant is dismissed without prejudice as an alternative and duplicative remedy.
15               ConocoPhillips is granted leave to file an application for an award of
16   prejudgment interest, as well as a motion for an award of attorney’s fees, other claim
17   resolution and litigation expenses, and for costs.
18               IT IS SO ORDERED.
19
20   Date: ____________                                        _______________________________
                                                               The Honorable Samuel Conti
21                                                             Judge, United States District Court
22
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